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 5
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 7
 8                                 UNITED STATES DISTRICT COURT

 9                                NORTHERN DISTRICT OF CALIFORNIA

10                                          OAKLAND DIVISION

11
      ET SOLAR, INC.,                                  COMPLAINT OF PLAINTIFF
12    a California corporation,                        ET SOLAR, INC. FOR:
13                            Plaintiff,                 1. Breach of Contract;
14                                                       2. Breach of the Implied Covenant of
                      v.
                                                            Good Faith and Fair Dealing; and
15
      SUMECHT NA Inc., a Texas corporation               3. Quantum Meruit.
16    doing business as SUMEC NORTH
      AMERICA INC.,                                    AND DEMAND FOR JURY TRIAL
17
18                            Defendant.

19
20          Plaintiff ET Solar, Inc., a California corporation (“ET Solar”), through its attorneys and for

21   its complaint against Defendant SUMECHT NA, Inc. (“SUMEC”), alleges the following:

22   I.     NATURE OF ACTION

23          1.      ET Solar manufactures and sells solar panels and other energy-related products.

24   On March 15, 2016, ET Solar signed a contract (the “Agreement”) with SUMECHT NA Inc., a

25   Texas company that does business as SUMEC North America Inc. (“SUMEC”) and sells outdoor

26   power equipment and power tools. SUMEC agreed to purchase a large quantity of solar modules

27   from ET Solar for a total price of $10,413,546.19. ET Solar brings this action to collect the

28   $5,662,639.11 outstanding balance SUMEC owes under that Agreement.



                           ET SOLAR’S COMPLAINT AGAINST SUMEC NORTH AMERICA
 1   II.    PARTIES
 2          2.      Plaintiff ET Solar, Inc. (“ET Solar”) is a California corporation with a principal
 3   place of business at 4900 Hopyard Road, Suite 310 in Pleasanton, California.
 4          3.      Defendant SUMECHT NA Inc. is a Texas company that does business as SUMEC
 5   North America Inc. (“SUMEC”) and has its principal place of business at 3939 Royal Drive NW
 6   Unit #234 in Kennesaw, Georgia. SUMEC sells power-related products and has done business in

 7   California at all times relevant to this complaint
 8   III.   JURISDICTION AND VENUE
 9          4.      This Court has personal jurisdiction over SUMEC because SUMEC has transacted
10   business in California, caused injury to ET Solar in California, and expected—or should have
11   expected—its acts to have such consequences in California.
12          5.      This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1332.
13   The amount in controversy exceeds $75,000.00, exclusive of interest and costs.
14          6.      Venue is proper because ET Solar is located in Alameda County and a substantial
15   part of the events giving rise to the claims alleged in this complaint occurred within the Northern
16   District of California.
17                                     GENERAL ALLEGATIONS
18          7.      ET Solar manufactures and sells solar panels and other energy systems. Founded in
19   2005, the company quickly grew into a leading clean energy brand, and Bloomberg recognized ET
20   Solar as a Tier 1 solar panel manufacturer. The company’s unique products, sophisticated cloud
21   factory supply chain, and global operation distinguish it from its competitors.
22          8.      On March 15, 2016, ET Solar signed a contract (the “Agreement”) with
23   SUMECHT NA Inc., a company that does business as SUMEC North America Inc. (“SUMEC”)
24   and sells outdoor power equipment and power tools. SUMEC agreed to purchase a large quantity
25   of solar modules from ET Solar for a total price of $10,413,546.19. The parties’ agreement is
26   attached here as Exhibit A.
27          9.      ET Solar delivered the solar modules and performed all its other duties required by

28   the Agreement. But SUMEC paid only about half the total amount due.

                                                          2
                         ET SOLAR’S COMPLAINT AGAINST SUMEC NORTH AMERICA
 1           10.     A balance of $5,662,639.11 remains outstanding on the Agreement.
 2           11.     Upon information and belief, in the weeks after the parties signed the Agreement,
 3   ET Solar, Sumec NA, and other entities signed a series of additional agreements. Sumec NA has
 4   suggested that these agreements shift liability for the outstanding balance away from it and to
 5   various other entities. Upon information and belief, each of those entities (the “SUMEC Entities”)
 6   was and is an agent, alter ego, or co-conspirator of SUMEC.

 7           12.     Upon information and belief, the SUMEC Entities have misused the corporate form
 8   to unfairly avoid liability on the Agreement, and SUMEC is fully liable for their conduct.
 9           13.     In recent years, ET Solar has come under intense financial pressure. On
10   December 4, 2017, the company filed for Chapter 11 bankruptcy in the United States District
11   Court for the Northern District of California’s Oakland Division. That court confirmed ET Solar’s
12   reorganization plan on February 11, 2019. ET Solar’s bankruptcy proceeding is this Court is
13   Case No. 17-43031-CN and its Plan of Reorganization is dated September 11, 2018.
14           14.     Despite repeated requests, SUMEC has failed to pay ET Solar the outstanding
15   $5,662,639.11 balance it owes. ET Solar brings this action to collect on the Agreement.
16                                        FIRST CAUSE OF ACTION
17                                              (Breach of Contract)
18           15.     ET Solar realleges and incorporates by reference all paragraphs above, as though
19   fully set forth in this cause of action.
20           16.     SUMEC and ET Solar entered into the Agreement, which is an enforceable contract
21   between the parties.
22           17.     ET Solar delivered the goods required by the Agreement.
23           18.     Under the Agreement, SUMEC is required to pay $10,413,546.19 for the goods
24   delivered by ET Solar.
25           19.     SUMEC has failed to pay $5,662,639.11 of that amount.
26           20.     ET Solar has suffered damages in the amount of $5,662,639.11.
27           21.     SUMEC has breached the Agreement by refusing to pay the full amount due. This

28   breach has caused ET Solar’s harm

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                         ET SOLAR’S COMPLAINT AGAINST SUMEC NORTH AMERICA
 1                                      SECOND CAUSE OF ACTION
 2                  (Breach of the Implied Covenant of Good Faith and Fair Dealing)
 3           22.     ET Solar realleges and incorporates by reference all paragraphs above, as though
 4   fully set forth in this cause of action.
 5           23.     SUMEC and ET Solar entered into the Agreement, which is an enforceable contract
 6   between the parties.

 7           24.     ET Solar delivered the goods required by the Agreement.
 8           25.     Under the Agreement, SUMEC is required to pay $10,413,546.19 for the goods
 9   delivered by ET Solar.
10           26.     SUMEC unfairly interfered with ET Solar’s right to receive the benefits of the
11   Agreement.
12           27.     SUMEC’s breaches of the implied covenant of good faith and fair dealing related to
13   the Agreement caused harm to ET Solar.
14                                       THIRD CAUSE OF ACTION
15                                              (Quantum Meruit)
16           28.     ET Solar realleges and incorporates by reference all paragraphs above, as though
17   fully set forth in this cause of action.
18           29.     SUMEC expressly requested that ET Solar provide goods for SUMEC’s benefit.
19           30.     ET Solar delivered those goods as requested.
20           31.     SUMEC has not paid in full for the services ET Solar provided.
21           32.     The reasonable value of the goods ET Solar provided SUMEC and has not been
22   otherwise compensated for is $5,662,639.11.
23                                         PRAYER FOR RELIEF
24           ET Solar respectfully requests that this Court award and order:
25           A.      General and special damages according to proof;
26           B.      Restitution and disgorgement of monies unjustly retained;
27           C.      Pre- and post-judgment interest as provided by law;

28           D.      An award of reasonable attorney’s fees and costs of court; and

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                         ET SOLAR’S COMPLAINT AGAINST SUMEC NORTH AMERICA
 1         E.     Such other and further relief as the Court may deem just and proper.
 2                                  DEMAND FOR JURY TRIAL
 3         ET Solar demands a jury trial on all claims.
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     Dated: August 28, 2020                         CHAN PUNZALAN LLP
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 6                                                  /s/ Mark Punzalan
                                                    Mark Punzalan
 7
                                                    Counsel for Plaintiff
 8                                                  ET Solar, Inc.
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                      ET SOLAR’S COMPLAINT AGAINST SUMEC NORTH AMERICA
